USCA11 Case: 24-10194   Document: 34-1    Date Filed: 08/22/2024   Page: 1 of 21




                                                 [DO NOT PUBLISH]
                                 In the
                 United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 24-10194
                         Non-Argument Calendar
                         ____________________

        In Re: HALLUCINATION MEDIA, LLC,
                                                               Debtor.
        ________________________________________________
        HALLUCINATION MEDIA, LLC,
                                                    Plaintiﬀ-Appellant,
        versus
        THE RITZ YBOR, LLC,
        N.C.J. INVESTMENT COMPANY,
        JOE CAPITANO, JR.,
        AMPHITHEATRE EVENTS, LLC,
        JOHN A. SANTARO,
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        2                    Opinion of the Court                24-10194

                                                   Defendants-Appellees.


                           ____________________

                  Appeal from the United States District Court
                       for the Middle District of Florida
                     D.C. Docket No. 8:22-cv-00564-SDM
                           ____________________

        Before WILSON, BRANCH, and LUCK, Circuit Judges.
        PER CURIAM:
               In 2013,       Plaintiff Hallucination Media, LLC
        (“Hallucination”) began contract discussions with Defendant Ritz
        Ybor (“the Ritz”) for Hallucination to promote and produce club
        nights at the Ritz special events venue. Although the parties
        contest whether an agreement was ever reached, it is undisputed
        that Hallucination and the Ritz developed a business relationship
        whereby Hallucination promoted and produced club nights at the
        Ritz on Friday nights and some Saturday nights from August 2013
        until May 2016, when the Ritz allegedly breached the agreement.
        Around the time that the relationship between Hallucination and
        the Ritz ended, Amphitheatre LLC (“Amphitheatre”)—a
        competitor to Hallucination—executed a three-year lease
        agreement to hold events at the Ritz after a fire destroyed its
        former venue.
             After filing for Chapter 11 bankruptcy, Hallucination
        brought an adversarial proceeding against the Ritz, its managing
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        24-10194                   Opinion of the Court                                3

        member Joe Capitano, and owner N.C.J. Investment Company
        (“NCJ”); as well as Amphitheatre and its owner John Santoro.
        Hallucination sought damages against (1) the Ritz and NCJ for
        breach of a partnership agreement (Count I) and breach of a right
        of first refusal (Count II); (2) the Ritz, NCJ, and Capitano for self-
        help eviction in violation of Florida Statutes § 83.05 (Count III); (3)
        Capitano, Amphitheatre, and Santoro for tortious interference
        with contracts and business relationships (Count IV); and (4) the
        Ritz, NCJ, and Capitano for fraudulent inducement (Count V).
        The bankruptcy court granted summary judgment in favor of
        defendants on all claims, which the district court affirmed.
               On appeal, Hallucination argues that the bankruptcy court
        erred by (1) granting summary judgment based on affirmative
        defenses and arguments it argues were never made by defendants,
        (2) misapplying the law on statute of frauds and competition
        privilege, and (3) denying its motions to reconsider. 1 After careful
        review, we affirm.
                                    I.      Background
               The Ritz, with Capitano as its managing member, operated
        a special events venue in a building owned by NCJ. In 2013, the
        Ritz, NCJ, and Capitano (collectively “the Ritz defendants”) began
        discussions with Hallucination and its managing members, Bryan
        Nichols and Steve McClure, about entering into an agreement for


        1 In the interest of clarity, the issues on appeal have been reorganized from the

        format presented in Hallucination’s brief.
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        4                      Opinion of the Court                 24-10194

        Hallucination to promote and produce club nights at the Ritz.
        While it is undisputed that Hallucination and the Ritz developed a
        business relationship whereby Hallucination promoted and
        produced club nights at the Ritz on Friday nights and some
        Saturday nights between August 2013 and May 2016, the parties
        dispute the nature of the relationship, and whether an enforceable
        agreement was ever reached. The parties also dispute whether
        Amphitheatre—a competitor to Hallucination who executed a
        lease with the Ritz around the time that the Ritz allegedly breached
        the agreement with Hallucination—tortiously interfered with the
        relationship between the Ritz and Hallucination. The evidence
        pertaining to these disputes will be summarized in turn.
        A. E-mails between the Ritz and Hallucination
               The main evidence of the relationship between the Ritz and
        Hallucination is a series of e-mails between the parties. In May
        2013, Stephanie Petrucelli, an agent for the Ritz, e-mailed
        Hallucination setting out “some talking points from our last sit
        down.” The e-mail then discussed the Ritz’s commitment to
        capital improvements, proposed a 3-year term consisting of Friday
        and Saturday nights only, attached a ﬁnancial pro forma projecting
        the split of the revenue, and listed topics that the parties needed to
        discuss further. Later that day, Hallucination responded, in part,
        that there were a few things relating to speciﬁcs of the costs and
        the format of the club nights that “were very concerning to
        [Hallucination.]”
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        24-10194               Opinion of the Court                        5

               Two weeks later, in June 2013, Petrucelli e-mailed
        Hallucination with “a few edits to some of our discussion so we
        can take the next step to develop a document. I know there is some
        language needed from you guys….I highlighted those areas in red.
        Let me know your thoughts.” The edits included a placeholder
        next to the 3-year term, stating that Hallucination was to provide
        language regarding options to extend the lease or a right of ﬁrst
        refusal, and a comment that Hallucination was to draft language
        dealing with incidents or nuisance. A few days later, after not
        hearing from Hallucination, Petrucelli sent a follow-up e-mail
        stating that she “[j]ust wanted to check in to see where you are on
        the language that we need from your team to move forward to
        ﬁnalize an agreement.”
                The next day, Hallucination responded with several changes,
        and noted that “[w]e would like to set up a meeting with everyone
        tomorrow, if possible . . . so we are all on the same page.” Later
        that day, Petrucelli responded with responses to the changes. In
        relevant part, she stated that she understood that Hallucination
        wanted to be protected beyond the proposed 3-year term of the
        potential lease, and that “[i]t seems the most prudent way to do this
        would be for certain ﬁrst right of refusal regarding club nights etc
        at the end of the term[.]” Ultimately, the e-mail stated that
        Capitano, the managing member of the Ritz, “fe[lt] conﬁdent that
        we will get aligned and strike an agreement that is favorable for us
        all,” and that they would set up a call to discuss the comments later
        that day or the next day. This was the last written communication
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        6                      Opinion of the Court                  24-10194

        between the parties prior to the alleged onset date of the
        agreement.
                It appears that, over a year later, in September 2014, the
        parties still disagreed on the exclusivity of Hallucination’s rights on
        Saturday nights. Hallucination e-mailed Petrucelli that “[w]e
        cannot be exclusive for just one night guaranteed and have a non-
        compete for 3 years. . . . [W]e rely on a minimum of two nights in
        this industry in order to succeed[.]” Thus, Hallucination proposed
        the following exclusivity language for Saturday nights:
        “Hallucination shall be granted the right to operate . . . on Saturday
        Nights.” Petrucelli responded that “[w]e appreciate your creative
        suggestions for Saturday, however, we are not going [to] get there
        at this time.” The next day, Hallucination responded that “[w]e are
        clearly in a stalemate with the Saturday issue.”
              Despite the disagreement over terms, Hallucination and the
        Ritz were able to conduct business together, with Hallucination
        holding events at the Ritz between August 2013 and May 2016. But
        eventually, the disagreements proved insurmountable. On January
        22, 2016, Hallucination sent Capitano a strongly worded e-mail
        suggesting that the relationship was not running smoothly.
        Hallucination stated that the Ritz had not been honoring various
        aspects of the “agreement” that they had reached. Hallucination
        ended the e-mail by stating that “[e]ither you choose to uphold
        your end of the bargain under the terms which we all agreed upon,
        or you choose to break the agreement.” Capitano e-mailed
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        24-10194               Opinion of the Court                          7

        Hallucination that “I think it is best for us to set a [meeting] for us
        to ﬁgure [out] a plan to sever[] our relationship.”
                On May 13, 2016, Capitano e-mailed Hallucination that
        Hallucination’s “tenancy by oral agreement is terminated as of
        May 13, 2016,” that Hallucination had “until noon on May 14th to
        remove its property,” and that Hallucination “d[id] not have a right
        of ﬁrst refusal[.]” Additionally, Capitano stated that he “ha[d] no
        legal obligation” to Hallucination because there was no written
        lease; rather, Capitano stated that Hallucination “operated and paid
        weekly and your oral tenancy was week to week.”
        B. Amphitheatre and the Ritz reach an agreement
                On April 28, 2016, Amphitheatre entered an initial
        “Promoter Space Rental Agreement,” with the Ritz to hold events
        at the venue for several dates in May 2016. Thereafter, the parties
        executed a three-year lease for Amphitheatre to hold events at the
        Ritz. Discussions between Amphitheatre and Ritz commenced
        after a fire destroyed Amphitheatre’s previous venue in April 2016.
        Because “[t]here were a number of events already booked to take
        place at the Amphitheatre, and . . . a number of staff members . . .
        relied upon [Amphitheatre] for their livelihood,” Santoro (the
        owner of Amphitheatre) immediately “began searching for suitable
        venues to hold . . . events.” Santoro had meetings with Capitano,
        in hopes of moving Amphitheatre’s scheduled events to the Ritz.
        During conversations with the Ritz, “it was [Santoro’s]
        understanding that Hallucinations Media did not have a lease or
        other contract, and was operating on a week to week basis,” and
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        8                       Opinion of the Court                 24-10194

        that the Ritz “began contemplating termination of [the]
        relationship” in January 2016.
        C. Procedural History
               In May 2016, Hallucination filed a voluntary petition for
        relief under Chapter 11 of the United States Bankruptcy Code.
        After litigating the main bankruptcy case for nearly three years,
        Hallucination initiated the instant adversary proceeding against
        defendants in March 2019. Hallucination sought damages against
        the Ritz and NCJ for breach of a partnership agreement (Count I)
        and breach of a right of first refusal (Count II); the Ritz, NCJ, and
        Capitano for self-help eviction in violation of Florida Statute § 83.05
        (Count III); Capitano, Amphitheatre, and Santoro for tortious
        interference with contracts and business relationships (Count IV);
        and the Ritz, NCJ, and Capitano for fraudulent inducement (Count
        V).
               Ritz filed an answer, stating in pertinent part that “[t]he
        parties exchanged several emails, but never reached an
        agreement,” that “no joint venture or partnership was ever
        formed,” and, as an affirmative defense, that “Debtor had, at best,
        a license to conduct ‘club nights’ . . . during limited hours on Friday
        nights.” Amphitheatre and Santoro filed a separate answer, stating
        in pertinent part that neither “Amphitheater [n]or Santoro had
        knowledge of any of the alleged contracts and business
        relationships at any material time,” and, as an affirmative defense,
        that “Defendants were entitled to take the actions alleged to
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        24-10194                Opinion of the Court                          9

        protect their business interest and such actions are privileged and
        immune from liability for tortious interference.”
              The Ritz defendants and Amphitheatre defendants then filed
        separate motions for summary judgment.
               1. The Ritz defendants’ motions for summary judgment
               Following a hearing on the motions for summary judgment
        conducted before the close of discovery, the bankruptcy court
        granted in part and denied in part the Ritz defendants’ motion. As
        to Counts One and Two for breach of agreement and right of first
        refusal, the bankruptcy court denied the motion because “[t]he
        summary judgment record as it stands . . . does not clearly define
        the business relationship,” and “[w]ithout such clarity, it is difficult
        to determine whether the statute of frauds would bar Plaintiff’s
        claims.” The court, however, granted the motion as to Counts
        Three, Four, and Five. On Count Three, the court held that the
        Ritz defendants did not engage in self-help eviction because any
        alleged agreement, to the extent one existed, could not be
        characterized as a lease because Hallucination did not have a right
        of exclusive possession to the venue, and, therefore, the provisions
        of Fla. Stat. § 83.05 did not apply. On Count Four, the court held
        that Capitano could not engage in tortious interference with a
        business relationship because Capitano did not act in his individual
        capacity. And on Count Five, the court held “the application of
        Florida’s independent tort doctrine” barred Hallucination’s
        fraudulent inducement claim. Hallucination filed a motion for
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        10                    Opinion of the Court                 24-10194

        reconsideration under Federal Rule of Civil Procedure 59 on these
        counts, which the court denied.
               After the discovery period progressed and additional
        evidence was submitted, the Ritz defendants filed an amended and
        renewed motion for summary judgment on Counts One and Two,
        which the court granted. As to Count One, the court held that “the
        [e-mail] communications between the parties are insufficient to
        create a material issue of fact regarding the essential terms of a
        three-year partnership agreement.” While those documents
        showed that the parties were working toward an agreement, “they
        never got beyond the outline” of such an agreement. Indeed, the
        e-mails demonstrated that Ritz and Hallucination did not even
        “establish agreement to the material terms of a promotion
        agreement.” And as to Count Two, the court held that
        “Hallucination does not point to any writing where Ritz or NCJ
        actually agreed to [a] right of first refusal.”
              2. Amphitheatre defendants’ motion
               The bankruptcy court also granted the Amphitheatre
        defendants’ motion. The court held that Hallucination’s claim
        against the Amphitheatre defendants (Count Four—tortious
        interference with a business contract) failed because of the defense
        of “competition privilege,” which was properly raised by
        defendants. Hallucination filed a motion for reconsideration under
        Rule 59, which was denied.
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        24-10194                  Opinion of the Court                     11

               3. Appeal
              Hallucination appealed these rulings to the district court,
        which affirmed on all counts. Hallucination then filed the instant
        appeal.
                            II.      Standard of Review
               In a bankruptcy case, we sit “as a second court of review and
        thus examine[] independently the factual and legal determinations
        of the bankruptcy court and employ[] the same standards of review
        as the district court.” In re Brown, 742 F.3d 1309, 1315 (11th Cir.
        2014) (quotations omitted). “Furthermore, when a district court
        affirms a bankruptcy court’s order, as the district court did here, we
        review the bankruptcy court’s decision. Id. “We review the
        bankruptcy court’s factual findings for clear error and its legal
        conclusions de novo.” Id. (quotations omitted). And we review
        “[t]he denial of a motion for reconsideration . . . for abuse of
        discretion.” Sanderlin v. Seminole Tribe of Fla., 243 F.3d 1282, 1285
        (11th Cir. 2001).
                                   III.   Discussion
               On appeal, Hallucination argues that the bankruptcy court
        erred by (1) granting summary judgment based on affirmative
        defenses and arguments that were allegedly never made by
        defendants, (2) misapplying the law on the statute of frauds and
        competition privilege, and (3) denying its motions to reconsider.
        After careful review, we affirm.
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        12                     Opinion of the Court                  24-10194

        A. Unpleaded affirmative defenses
               Hallucination argues that the bankruptcy court erred by
        entering summary judgment in favor of defendants based on the
        (1) statute of frauds and (2) competition privilege because they
        were “unpleaded affirmative defenses raised for the first time in
        their motions for summary judgment.”
                Federal Rule of Civil Procedure (8)(c) provides that, in
        general, “[i]n responding to a pleading, a party must affirmatively
        state any avoidance or affirmative defense.” “However, the liberal
        pleading rules established by the Federal Rules of Civil Procedure
        apply to the pleading of affirmative defenses. We must avoid
        hypertechnicality in pleading requirements and focus, instead, on
        enforcing the actual purpose of the rule,” which “is simply to
        guarantee that the opposing party has notice of any additional issue
        that may be raised at trial so that he or she is prepared to properly
        litigate it.” Hassan v. U.S. Postal Serv., 842 F.2d 260, 263 (11th Cir.
        1988). “When a plaintiff has notice that an affirmative defense will
        be raised at trial, the defendant’s failure to comply with Rule
        8(c) does not cause the plaintiff any prejudice.” Id. Moreover,
        “when the failure to raise an affirmative defense does not prejudice
        the plaintiff, it is not error for the trial court to hear evidence on
        the issue.” Id.               With respect to the statute of frauds, while the Ritz
        defendants’ answer did not specifically use the phrase “statute of
        frauds,” it stated that, while the parties exchanged several e-mails,
        no formal agreement was ever finalized in a signed writing.
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        24-10194                    Opinion of the Court                                 13

        Because the statute of frauds requires certain contractual
        agreements to be in a writing signed by the party to be charged, the
        answer put Hallucination on notice that the statute of frauds was
        at issue. See Fla. Stat. § 725.01 (“No action shall be brought . . .
        upon any agreement that is not to be performed within the space
        of 1 year from the making thereof . . . unless the agreement . . .
        shall be in writing and signed by the party to be charged[.]”).

               For a similar reason, Hallucination’s arguments related to
        the competition privilege on its tortious interference claims fail.
        With respect to the competition privilege defense, while the
        Amphitheatre defendants’ answer did not use the specific words
        “competition privilege,” it described the competition privilege in
        slightly different words, listing as an affirmative defense that they
        were entitled to “protect their business interest and such actions
        are privileged and immune from liability for tortious
        interference.” 2 See Hassan, 842 F.2d at 263 (“We must avoid


        2 Hallucination also argues in a conclusory fashion, without argument, that

        the Ritz defendants failed to plead “Capitano’s representative capacity
        immunity defense” as an affirmative defense to Hallucination’s tortious
        interference claim. “We have long held that an appellant abandons a claim
        when he either makes only passing references to it or raises it in a perfunctory
        manner without supporting arguments and authority.” Sapuppo v. Allstate
        Floridian Ins. Co., 739 F.3d 678, 681 (11th Cir. 2014). But even if we considered
        this waived argument, it fails. The “representative capacity immunity
        defense” provides that an agent of a corporation acting within his
        representative capacity cannot be personally liable for a tortious interference
        claim. See Cedar Hills Properties Corp. v. Eastern Federal Corp., 575 So.2d 673, 676
        (Fla. 1st DCA 1991). Because the allegations in the complaint only describe
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        14                        Opinion of the Court                       24-10194

        hypertechnicality in pleading requirements and focus, instead, on
        enforcing the actual purpose of the rule,” which “is simply to
        guarantee that the opposing party has notice of any additional issue
        that may be raised at trial so that he or she is prepared to properly
        litigate it.”). Because an element of the “competition privilege” is
        whether the purpose of the alleged interference was to advance the
        defendant’s business interest in competing with the plaintiff, see
        International Sales &amp; Service v. Austral Insulated Products, Inc., 262
        F.3d 1152, 1159 (11th Cir. 2001), Hallucination was on notice that
        defendants intended to assert such a defense. Thus, Hallucination
        was not prejudiced by defendants’ failure to use the specific words
        “competition privilege” in its answer. 3


        Capitano as operating in his representative capacity, it was clear from the face
        of the complaint that Capitano was entitled to this defense.
        3 Additionally, Hallucination argues that the bankruptcy court erred by basing

        its decision on unraised arguments; specifically, (1) Hallucination having a
        license rather than a lease, (2) the independent tort doctrine, and (3) lack of
        mutual assent. According to Hallucination, the defendants did not raise these
        arguments in their motions for summary judgment and it was thus improper
        for the district court to consider them. But Hallucination’s argument is belied
        by the record. As to Hallucination’s argument that the defendants did not
        move for summary judgment on the basis that Hallucination held a license
        and not a lease, defendants’ motion for summary judgment clearly makes that
        argument. In relevant part, the motion states that “Hallucination alleges an
        agreement much different than the right exclusively to possess property and
        it therefore cannot prevail on its claim that it held a lease subject to the
        provisions of Chapter 83, Florida Statutes.” As to Hallucination’s argument
        that defendants did not move for summary judgment on the independent tort
        doctrine, both defendants and Hallucination presented argument on the
        independent tort doctrine at a summary judgment hearing, and the
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        24-10194                    Opinion of the Court                                 15

        B. Merits
               On the merits, Hallucination argues that the bankruptcy
        court misapplied the law on (1) the statute of frauds in finding that
        no partnership or joint venture with a right of first refusal existed,
        and (2) the competition privilege.
                1. Statute of Frauds
               Hallucination argues that the bankruptcy court misapplied
        the law on the statute of frauds because the parties had a three-year
        partnership with a right of first refusal, which Hallucination argues
        was evidenced by e-mails sufficient to overcome the statute of
        frauds. 4 Hallucination’s arguments fail.
                Florida’s statute of frauds states that:



        defendants’ motion stated that Hallucination’s fraudulent inducement claim
        failed because it was not independent from the breach of contract claim—
        which is precisely what Florida’s independent tort doctrine states. See Island
        Travel &amp; Tours, Ltd., Co. v. MYR Indep., Inc., 300 So. 3d 1236, 1239 (Fla. 3d DCA
        2020) (“It is a fundamental, long-standing common law principle that a plaintiff
        may not recover in tort for a contract dispute unless the tort is independent of
        any breach of contract.”). Finally, Hallucination’s argument that the
        defendants did not move for summary judgment on mutual assent or
        ambiguity fails because defendants’ motion asserted that a valid contract was
        never formed.
        4 Hallucination also argues that the doctrine of part performance forecloses

        application of the statute of frauds. But the doctrine of part performance is an
        equitable doctrine only, and it does not apply to damages actions such as this
        one. Dwight v. Tobin, 947 F.2d 455, 459 (11th Cir. 1991) (citing Elsberry v. Sexton,
        54 So. 592 (Fla. 1911)).
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        16                      Opinion of the Court                  24-10194

               No action shall be brought . . . for any lease . . . for a
               period longer than 1 year, or upon any agreement that
               is not to be performed within the space of 1 year from
               the making thereof . . . unless the agreement or
               promise upon which such action shall be brought, or
               some note or memorandum thereof shall be in
               writing and signed by the party to be charged . . . .

        Fla. Stat. § 725.01. “To satisfy the statute, a note or memorandum
        may take almost any possible form.” Kolski ex rel. Kolski v. Kolski,
        731 So. 2d 169, 171 (Fla. 3d DCA 1999). “All that the statute requires
        is written evidence from which the whole contract may be made
        out.” Id. Under Florida law, “[i]t is well established that a meeting
        of the minds of the parties on all essential elements is a prerequisite
        to the existence of an enforceable contract, and where it appears
        that the parties are continuing to negotiate as to essential terms of
        an agreement, there can be no meeting of the minds.” Greater N.Y.
        Corp. v. Cenvill Miami Beach Corp., 620 So. 2d 1068, 1070 (Fla. 3d DCA
        1993).
                 “Under Florida law, a joint venture is a form of
        partnership[.]” Williams v. Obstfeld, 314 F.3d 1270, 1275 (11th Cir.
        2002) “A partnership is created only where ‘both parties contribute
        to the labor or capital of the enterprise, have a mutuality of interest
        in both profits and losses, and agree to share in the assets and
        liabilities of the business.’” Id. (citing Dreyfuss v. Dreyfuss, 701 So.
        2d 437, 439 (Fla. 3d DCA 1997)). The necessary elements to create
        a joint venture are (1) a common purpose; (2) a joint proprietary
        interest in the subject matter; (3) the right to share profits and duty
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        24-10194                Opinion of the Court                         17

        to share losses; and (4) joint control or right of control. Id. at 1275–
        76. A court cannot find that a partnership or joint venture exists if
        any factor is missing. Id. at 1276 &amp; n.7.
               As an initial matter, Hallucination acknowledges that the
        alleged agreement was for longer than one year and so the statute
        of frauds applies, but Hallucination maintains that the e-mails
        between the parties satisﬁed the statute of frauds. But the e-mails
        between the parties indicate that, while the parties were working
        towards an agreement, they had not yet ﬁnalized that agreement.
               For example, after Petrucelli e-mailed Hallucination setting
        out “talking points,” Hallucination responded that there were a few
        things that “were very concerning.” Petrucelli responded with
        some edits, and highlighted areas where Hallucination needed to
        add language in order to “take the next step to develop a
        document”—including key terms such as whether there would be
        a right to extend or a right of ﬁrst refusal. Hallucination responded
        with several changes and requested a meeting to get “on the same
        page.” Petrucelli responded to the changes and suggested that a
        right of refusal might best protect Hallucination’s concerns about
        the end of the term, but that they would set up a call to discuss
        further, and that Capitano “fe[lt] conﬁdent that we will get aligned
        and strike an agreement that is favorable for us all.” This was the
        last written communication between the parties prior to the
        alleged onset date of the agreement. Then, over a year later, the e-
        mails between the parties demonstrated that they still had not
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        18                      Opinion of the Court                  24-10194

        agreed over key terms, including whether Hallucination had
        exclusive rights on Saturday nights.
               Thus, these communications do not demonstrate a ﬁnalized
        agreement of any sort, let alone a three-year partnership with a
        right of ﬁrst refusal. Kolski ex rel. Kolski, 731 So. 2d at 171; Cenvill
        Miami Beach Corp., 620 So. 2d at 1070. Regardless, there is no
        mention of forming a partnership or joint venture in e-mails, let
        alone conﬁrmation that one was oﬃcially being entered. And as to
        the right of ﬁrst refusal, while the possibility of including such a
        term was discussed, there is no e-mail conﬁrming its inclusion.
        Because these e-mails are insuﬃcient “evidence from which the
        whole contract may be made out,” Kolski ex rel. Kolski, 731 So. 2d at
        171, the bankruptcy court properly granted summary judgment to
        the Ritz defendants on statute of frauds grounds.
               2. Competition privilege
               Hallucination argues that the bankruptcy court misapplied
        the law on the competition privilege in granting summary
        judgment to the Amphitheatre defendants on Hallucination’s
        tortious interference claim.
               To succeed on its tortious interference claim, Hallucination
        must prove (1) the existence of a contract or business relationship;
        (2) knowledge of the contract or relationship by the defendant; (3)
        “an intentional and unjustified interference with the [contract or]
        relationship by the defendant”; and (4) damage to the plaintiff as a
        result. Ethan Allen, Inc. v. Georgetown Manor, Inc., 647 So. 2d 812,
        814 (Fla. 1994). The competition privilege, if shown, can negate as
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        24-10194                   Opinion of the Court                                19

        a matter of law the “unjustified interference” element of a tortious
        interference claim. See Austral Insulated Prods., Inc., 262 F.3d at
        1158–59.
               To establish the competition privilege defense—i.e., that
        any interference was lawful and justified—the Amphitheatre
        defendants were required to show that: (1) the relationship
        between Hallucination and Amphitheatre “concerned a matter
        involved in the competition between [them]”; (2) Amphitheatre
        “did not employ improper means”; (3) “it did not intend to create
        or continue an illegal restraint of competition”; and (4) “its purpose
        was at least in part to advance its interest in competing with
        [Hallucination].” Id. at 1159. The bankruptcy court did not err in
        holding that the competition privilege applied here. As to the first
        and fourth elements, Hallucination and Amphitheatre are in a
        similar business and were competing for use of the venue. As to
        the second element, there is no evidence that Amphitheatre
        employed improper means—such as fraud, deceit, pretext, or
        broken promises—to attain the use of the venue. And as to the
        third element, there is no evidence or suggestion that
        Amphitheatre sought to illegally restrain competition. Instead, the
        record shows that Amphitheatre’s venue burned down, and so its
        pursuit of Ritz was simply because it needed a new venue to stay
        afloat.5


        5 Hallucination makes arguments, for the first time in its reply brief, related to

        the merits (1) of its Count III claim against the Amphitheatre defendants for
        self-help eviction in violation of Florida Statute § 83.05, and (2) its Count V
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        20                         Opinion of the Court                         24-10194

        C. Motions for reconsideration
               Hallucination argues that the bankruptcy court abused its
        discretion in denying its motions for reconsideration.
               “The only grounds for granting a Rule 59 motion [for
        reconsideration] are newly-discovered evidence or manifest errors
        of law or fact. A Rule 59(e) motion cannot be used to relitigate old
        matters, raise argument or present evidence that could have been
        raised prior to the entry of judgment.” Arthur v. King, 500 F.3d
        1335, 1343 (11th Cir. 2007) (alterations adopted) (internal citation
        and quotations omitted). Here, the crux of Hallucination’s
        motions for reconsideration merely quarreled with the outcome
        and attempted to relitigate the matters decided adversely to them,
        which is not a proper ground for a motion for reconsideration. Id.        Although Hallucination asserted errors of law in the bankruptcy
        court’s decisions, the bankruptcy court explained why
        Hallucination was incorrect, and why summary judgment
        remained appropriate. Given that we agree with the district court’s
        summary judgment decision, as discussed above, the district court
        did not abuse its discretion in denying the motions for
        reconsideration.
                For all the reasons discussed above, we affirm.



        claim for fraudulent inducement against the Ritz defendants. But “[w]e
        decline to address an argument advanced by an appellant for the first time in
        a reply brief.” Big Top Koolers, Inc. v. Circus-Man Snacks, Inc., 528 F.3d 839, 844
        (11th Cir. 2008).
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        24-10194           Opinion of the Court                    21

              AFFIRMED.
